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 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                              Case No.:
      LARRY DUNN,
11                 Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                                RELIEF AND DAMAGES FOR DENIAL
12          vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                                PERSON IN VIOLATIONS OF
13
                                                1. AMERICANS WITH DISABILITIES;
14
      PINCHES ANAYA II LLC D/B/A                2. CALIFORNIA’S UNRUH CIVIL
15    PINCHES TACOS; MOISES CAMPOS,             RIGHTS ACT;
16    TRUSTEE OF MOISES AND SARA                3. CALIFORNIA’S DISABLED
      CAMPOS LIVING TRUST,                      PERSONS ACT;
17
                   Defendants.                  4. CALIFORNIA HEALTH & SAFETY
18                                              CODE;
19                                              5. NEGLIGENCE
20
21
22
23
24          Plaintiff LARRY DUNN (“Plaintiff”) complains of Defendants PINCHES
25    ANAYA II LLC D/B/A PINCHES TACOS; MOISES CAMPOS, TRUSTEE OF
26    MOISES AND SARA CAMPOS LIVING TRUST (“Defendants”) and alleges as
27    follows:
28




                                         COMPLAINT - 1
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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    diagnosed with a quadriplegia C4-C5. Plaintiff requires the use of a wheelchair at all
 4    times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for PINCHES TACOS
 7    (“Business”) located at or about 518 E. Las Tunas Dr., San Gabriel, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11    Court to amend this Complaint when the true names and capacities have been
12    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13    fictitiously named Defendants are responsible in some manner, and therefore, liable to
14    Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                  JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.)
28




                                               COMPLAINT - 2
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 1           7.    Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5           8.    Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6           9.    Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, in Culver City, Los
 8    Angeles County, California, and that all actions complained of herein take place in this
 9    district.
10                                   FACTUAL ALLEGATIONS
11           10.   On or about September 3, 2019, Plaintiff went to the Business. On or about
12    October 30, 2019, Plaintiff went to the Business again.
13           11.   The Business is a restaurant business establishment, open to the public, a
14    place of public accommodation and affects commerce through its operation.
15           12.   While attempting to enter the Business during each visit, Plaintiff personally
16    encountered a number of barriers that interfered with his ability to use and enjoy the
17    goods, services, privileges, and accommodations offered at the Business.
18           13.   To the extent of Plaintiff’s personal knowledge, the barriers at the Business
19    included, but were not limited to, the following:
20                 a.     Defendants failed to comply with the federal and state standards for
21                        the parking space designated for persons with disabilities. Defendants
22                        failed to provide the parking space identification sign with the
23                        International Symbol of Accessibility for one parking space.
24                 b.     Defendants failed to comply with the federal and state standards for
25                        the parking space designated for persons with disabilities. Defendants
26                        failed to post required signage such as “Van Access,” “Minimum Fine
27                        $250” or “Unauthorized Parking.”
28




                                             COMPLAINT - 3
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 1                 c.     Defendants failed to maintain the parking space designated for
 2                        persons with disabilities to comply with the federal and state
 3                        standards. Defendants failed to provide a proper van accessible space
 4                        designated for the persons with disabilities.
 5                 d.     Defendant failed to maintain the parking space designated for persons
 6                        with disabilities to comply with the federal and state standards.
 7                        Defendants failed to paint the ground as required.
 8                 e.     Defendants failed to maintain the parking space designated for
 9                        persons with disabilities to comply with the federal and state
10                        standards. Defendants failed to properly mark the space with the
11                        International Symbol of Accessibility.
12          14.    These barriers and conditions denied Plaintiff the full and equal access to the
13    Business and caused him difficulty and frustration. The Business is conveniently located
14    as Plaintiff lives about 1 mile away from the Business. Plaintiff wishes to return and
15    patronize the Business, however, Plaintiff is deterred from visiting the Business because
16    his knowledge of these violations prevents him from returning until the barriers are
17    removed.
18          15.    Based on the violations, Plaintiff alleges, on information and belief, that
19    there are additional barriers to accessibility at the Business after further site inspection.
20    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
21    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
22          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
23    knew that particular barriers render the Business inaccessible, violate state and federal
24    law, and interfere with access for the physically disabled.
25          17.    At all relevant times, Defendants had and still have control and dominion
26    over the conditions at this location and had and still have the financial resources to
27    remove these barriers without much difficulty or expenses to make the Business
28    accessible to the physically disabled in compliance with ADDAG and Title 24



                                             COMPLAINT - 4
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 1    regulations. Defendants have not removed such barriers and have not modified the
 2    Business to conform to accessibility regulations.
 3                                    FIRST CAUSE OF ACTION
 4        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 5          18.    Plaintiff incorporates by reference each of the allegations in all prior
 6    paragraphs in this complaint.
 7          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 8    shall be discriminated against on the basis of disability in the full and equal enjoyment of
 9    the goods, services, facilities, privileges, advantages, or accommodations of any place of
10    public accommodation by any person who owns, leases, or leases to, or operates a place
11    of public accommodation. See 42 U.S.C. § 12182(a).
12          20.    Discrimination, inter alia, includes:
13                 a.    A failure to make reasonable modification in policies, practices, or
14                       procedures, when such modifications are necessary to afford such
15                       goods, services, facilities, privileges, advantages, or accommodations
16                       to individuals with disabilities, unless the entity can demonstrate that
17                       making such modifications would fundamentally alter the nature of
18                       such goods, services, facilities, privileges, advantages, or
19                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
20                 b.    A failure to take such steps as may be necessary to ensure that no
21                       individual with a disability is excluded, denied services, segregated or
22                       otherwise treated differently than other individuals because of the
23                       absence of auxiliary aids and services, unless the entity can
24                       demonstrate that taking such steps would fundamentally alter the
25                       nature of the good, service, facility, privilege, advantage, or
26                       accommodation being offered or would result in an undue burden. 42
27                       U.S.C. § 12182(b)(2)(A)(iii).
28




                                            COMPLAINT - 5
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 1                 c.     A failure to remove architectural barriers, and communication barriers
 2                        that are structural in nature, in existing facilities, and transportation
 3                        barriers in existing vehicles and rail passenger cars used by an
 4                        establishment for transporting individuals (not including barriers that
 5                        can only be removed through the retrofitting of vehicles or rail
 6                        passenger cars by the installation of a hydraulic or other lift), where
 7                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 8                 d.     A failure to make alterations in such a manner that, to the maximum
 9                        extent feasible, the altered portions of the facility are readily
10                        accessible to and usable by individuals with disabilities, including
11                        individuals who use wheelchairs or to ensure that, to the maximum
12                        extent feasible, the path of travel to the altered area and the
13                        bathrooms, telephones, and drinking fountains serving the altered
14                        area, are readily accessible to and usable by individuals with
15                        disabilities where such alterations to the path or travel or the
16                        bathrooms, telephones, and drinking fountains serving the altered
17                        area are not disproportionate to the overall alterations in terms of cost
18                        and scope. 42 U.S.C. § 12183(a)(2).
19          21.    Where parking spaces are provided, accessible parking spaces shall be
20    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
21    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
22    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
23    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
24    be van parking space. 2010 ADA Standards § 208.2.4.
25          22.    Under the ADA, the method and color of marking are to be addressed by
26    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
27    Building Code (“CBC”), the parking space identification signs shall include the
28    International Symbol of Accessibility. Parking identification signs shall be reflectorized



                                             COMPLAINT - 6
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 1    with a minimum area of 70 square inches. Additional language or an additional sign
 2    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 3    parking space identification sign shall be permanently posted immediately adjacent and
 4    visible from each parking space, shall be located with its centerline a maximum of 12
 5    inches from the centerline of the parking space and may be posted on a wall at the
 6    interior end of the parking space. See CBC § 11B-502.6, et seq.
 7          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 8    each entrance to an off-street parking facility or immediately adjacent to on-site
 9    accessible parking and visible from each parking space. The additional sign shall not be
10    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
11    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
12    designated accessible spaces not displaying distinguishing placards or special license
13    plates issued for persons with disabilities will be towed always at the owner’s expense…”
14    See CBC § 11B-502.8, et seq.
15          24.    Here, Defendants failed to provide the parking space identification sign with
16    the International Symbol of Accessibility for parking space. In addition, for all the
17    parking spaces, Defendants failed to provide signs stating “Minimum fine $250” or “Van
18    Accessible.” Moreover, Defendants failed to provide the additional sign with the specific
19    languages stating “Unauthorized vehicles parked in designated accessible spaces not
20    displaying distinguishing placards or special license plates issued for persons with
21    disabilities will be towed always at the owner’s expense…”
22          25.    For the parking spaces, access aisles shall be marked with a blue painted
23    borderline around their perimeter. The area within the blue borderlines shall be marked
24    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
25    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
26    be painted on the surface within each access aisle in white letters a minimum of 12 inches
27    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
28    11B-502.3.3.



                                            COMPLAINT - 7
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 1          26.     Here, Defendants failed to properly maintain the access aisles as there was
 2    no “NO PARKING” or blue lines painted on the parking surface. Moreover, Defendants
 3    failed to provide the access aisle with the minimum width of 96 inches.
 4          27.    The surface of each accessible car and van space shall have surface
 5    identification complying with either of the following options: The outline of a profile
 6    view of a wheel chair with occupant in white on a blue background a minimum 36” wide
 7    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 8    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 9    length of the parking space and its lower side or corner aligned with the end of the
10    parking space length or by outlining or painting the parking space in blue and outlining
11    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
12    occupant. See CBC § 11B-502.6.4, et seq.
13          28.    Here, Defendants failed to properly paint the International Symbol of
14    Accessibility on the surface as required. The Symbol painting had faded on the surface.
15          29.    A public accommodation shall maintain in operable working condition those
16    features of facilities and equipment that are required to be readily accessible to and usable
17    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
18    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
19    violation of Plaintiff’s rights under the ADA and its related regulations.
20          30.    The Business has denied and continues to deny full and equal access to
21    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
22    discriminated against due to the lack of accessible facilities, and therefore, seeks
23    injunctive relief to alter facilities to make such facilities readily accessible to and usable
24    by individuals with disabilities.
25                                 SECOND CAUSE OF ACTION
26                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
27          31.    Plaintiff incorporates by reference each of the allegations in all prior
28    paragraphs in this complaint.



                                             COMPLAINT - 8
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 1          32.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 2    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 3    national origin, disability, medical condition, genetic information, marital status, sexual
 4    orientation, citizenship, primary language, or immigration status are entitled to the full
 5    and equal accommodations, advantages, facilities, privileges, or services in all business
 6    establishments of every kind whatsoever.”
 7          33.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 8    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 9    for each and every offense for the actual damages, and any amount that may be
10    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
11    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
12    attorney’s fees that may be determined by the court in addition thereto, suffered by any
13    person denied the rights provided in Section 51, 51.5, or 51.6.
14          34.    California Civil Code § 51(f) specifies, “a violation of the right of any
15    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
16    shall also constitute a violation of this section.”
17          35.    The actions and omissions of Defendants alleged herein constitute a denial
18    of full and equal accommodation, advantages, facilities, privileges, or services by
19    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
20    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
21    51 and 52.
22          36.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
23    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
24    damages as specified in California Civil Code §55.56(a)-(c).
25                                   THIRD CAUSE OF ACTION
26                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
27          37.    Plaintiff incorporates by reference each of the allegations in all prior
28    paragraphs in this complaint.



                                              COMPLAINT - 9
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 1         38.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 2   entitled to full and equal access, as other members of the general public, to
 3   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 4   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 5   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 6   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 7   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 8   places of public accommodations, amusement, or resort, and other places in which the
 9   general public is invited, subject only to the conditions and limitations established by
10   law, or state or federal regulation, and applicable alike to all persons.
11         39.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
12   corporation who denies or interferes with admittance to or enjoyment of public facilities
13   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
14   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
15   the actual damages, and any amount as may be determined by a jury, or a court sitting
16   without a jury, up to a maximum of three times the amount of actual damages but in no
17   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
18   determined by the court in addition thereto, suffered by any person denied the rights
19   provided in Section 54, 54.1, and 54.2.
20         40.    California Civil Code § 54(d) specifies, “a violation of the right of an
21   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
22   constitute a violation of this section, and nothing in this section shall be construed to limit
23   the access of any person in violation of that act.
24         41.    The actions and omissions of Defendants alleged herein constitute a denial
25   of full and equal accommodation, advantages, and facilities by physically disabled
26   persons within the meaning of California Civil Code § 54. Defendants have
27   discriminated against Plaintiff in violation of California Civil Code § 54.
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                                           COMPLAINT - 10
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 1         42.    The violations of the California Disabled Persons Act caused Plaintiff to
 2   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 3   statutory damages as specified in California Civil Code §55.56(a)-(c).
 4                                FOURTH CAUSE OF ACTION
 5                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 6         43.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         44.    Plaintiff and other similar physically disabled persons who require the use of
 9   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
10   such facility is in compliance with the provisions of California Health & Safety Code §
11   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
12   provisions of California Health & Safety Code § 19955 et seq.
13         45.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
14   that public accommodations or facilities constructed in this state with private funds
15   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
16   Title 1 of the Government Code. The code relating to such public accommodations also
17   require that “when sanitary facilities are made available for the public, clients, or
18   employees in these stations, centers, or buildings, they shall be made available for
19   persons with disabilities.
20         46.    Title II of the ADA holds as a “general rule” that no individual shall be
21   discriminated against on the basis of disability in the full and equal enjoyment of goods
22   (or use), services, facilities, privileges, and accommodations offered by any person who
23   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
24   Further, each and every violation of the ADA also constitutes a separate and distinct
25   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
26   award of damages and injunctive relief pursuant to California law, including but not
27   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
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                                           COMPLAINT - 11
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 1                                   FIFTH CAUSE OF ACTION
 2                                         NEGLIGENCE
 3          47.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5          48.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 6   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7   to the Plaintiff.
 8          49.    Defendants breached their duty of care by violating the provisions of ADA,
 9   Unruh Civil Rights Act and California Disabled Persons Act.
10          50.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11   has suffered damages.
12
13                                     PRAYER FOR RELIEF
14          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
15   Defendants as follows:
16          1.     For preliminary and permanent injunction directing Defendants to comply
17   with the Americans with Disability Act and the Unruh Civil Rights Act;
18          2.     Award of all appropriate damages, including but not limited to statutory
19   damages, general damages and treble damages in amounts, according to proof;
20          3.     Award of all reasonable restitution for Defendants’ unfair competition
21   practices;
22          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
23   action;
24          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
25          6.     Such other and further relief as the Court deems just and proper.
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                                            COMPLAINT - 12
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 1                              DEMAND FOR TRIAL BY JURY
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a trial by jury on all issues so triable.
 4
 5   Dated: January 18, 2020                 SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                           By:   _/s/ Jason Yoon_______________
                                                   Jason Yoon, Esq.
 9                                           Attorneys for Plaintiff
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                                           COMPLAINT - 13
